 Case 1:22-cv-00745-RGA Document 9 Filed 08/01/22 Page 1 of 5 PageID #: 135




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

 COMSYS SOLUTIONS LLC,                       )
                                             )
               Plaintiff,                    )
                                             )
        v.                                   )   C.A. No. 22-745-RGA
                                             )
 UNIPHORE TECHNOLOGIES INC.,                 )
                                             )
               Defendant.                    )


       MOTION AND PROPOSED ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certifications, counsel moves for the

admission pro hac vice of Matthew S. Warren, Erika Warren and Francesca M.S. Germinario of

Warren Lex, LLP, 2261 Market Street, No. 606, San Francisco, CA 94114 to represent Defendant

Uniphore Technologies Inc.

                                                  /s/ Andrew E. Russell
                                                  Karen E. Keller (No. 4489)
                                                  Andrew E. Russell (No. 5382)
                                                  SHAW KELLER LLP
                                                  I.M. Pei Building
                                                  1105 North Market Street, 12th Floor
                                                  Wilmington, DE 19801
 OF COUNSEL:                                      (302) 298-0700
 Matthew S. Warren                                kkeller@shawkeller.com
 Erika Warren                                     arussell@shawkeller.com
 Francesca M.S. Germinario                        Attorneys for Defendant Uniphore
 WARREN LEX LLP                                   Technologies Inc.
 2261 Market Street, No. 606
 San Francisco, CA 94114
 (415) 895-2940

 Dated: August 1, 2022
 Case 1:22-cv-00745-RGA Document 9 Filed 08/01/22 Page 2 of 5 PageID #: 136




                      [PROPOSED] ORDER GRANTING MOTION

        IT IS HEREBY ORDERED that counsel’s motion for the admission pro hac vice of

Matthew S. Warren, Erika Warren and Francesca M.S. Germinario is granted.




                                                 United States District Judge
Date:
   Case 1:22-cv-00745-RGA Document 9 Filed 08/01/22 Page 3 of 5 PageID #: 137




              CERTIFICATION BY COUNSEL то BE ADMITTED PRO НАС YICE


        Pursuant to Local Rule 83.5,1 certify that I am eligible for admission to this Court and

am admitted, practicing and in good standing as a member of the Bar of the States of California and New

York and the Commonwealth of Massachusetts, and under Local Rule 83.6 submit to the disciplinai^

jurisdiction of this Court for any alleged misconduct that occurs in the preparation or course of this action.

I also certify that I am generalfy familial- with this Court's Local Rules. In accordance with the Standing

Order for District Court Fund effective September 1, 2016,1 further certify that the annual fee of $25.00

has been paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted to the

Clerk's office upon the filing of this motion.


Dated: August 1, 2022
                                                           Matthew S. Warren
                                                           WARREN LEX LLP
                                                           2261 Market Street, No. 606
                                                           San Francisco, California, 94114
                                                           tl(415) 895-2940
                                                           +1(415) 895-2964 facsimile
                                                           22-745@cases.warrenlex.com
   Case 1:22-cv-00745-RGA Document 9 Filed 08/01/22 Page 4 of 5 PageID #: 138




              CERTIFICATION BY COUNSEL то BE АРМЕЕВ PRO НАС VICE


        Pursuant to Local Rule 83.5,1 certify that I am eligible for admission to this Court and

am admitted, practicing and in good standing as a member of the Bar of the State of California, and under

Local Rule 83.6 submit to the disciphnary jurisdiction of this Court for any alleged misconduct that

occurs in the preparation or course of this action. I also certify that I am generally familiar with this

Court's Local Rules. In accordance with the Standing Order for District Court Fund effective September

1, 2616,1 further certify that the annual fee of $25.٥٥ has been paid to the Clerk of Court, or, if not paid

previously, the fee payment will be submitted to the Clerk’s office upon the filing of this motion.


Dated: August 1, 2022
                                                            Erika Warren
                                                            WARREN LEX LLP
                                                            2261 Market Street, No. 606
                                                            San Francisco, California, 94114
                                                            .1(415) 895-2940
                                                            .1(415) 895-2964 facsimile
                                                            22-745@cases.warrenlex.com
   Case 1:22-cv-00745-RGA Document 9 Filed 08/01/22 Page 5 of 5 PageID #: 139




               CERTIFICATION BY COUNSEL то BE ADMITTED PRO НАС VICE


        Pursuant to Local Rule 83.5,1 certify that I am eligible for admission to this Court and

am admitted, practicing and in good standing as a member of the Bar of the States of California and New

York and under Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct that occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court's Local Rules. In accordance with the Standing Order for District Court Fund

effective September 1, 2616,1 further certify that the annual fee of $25.0٥ has been paid to the Clerk of

Court, or, if not paid previously, the fee payment will be submitted to the Clerk's office upon the filing of

this motion.


Dated: August 1, 2022
                                                           Fran    :a M. S.^ ,marro
                                                                 EN LEX LLP
                                                           2261 Market Street, No. 606
                                                           San Francisco, California, 94114
                                                           tl(415) 895-2940
                                                           tl (415) 895-2964 facsimile
                                                           22-745@cases.wan-enlex.com
